231 F.2d 666
    UNITED STATES of America, Appellant,v.Arthur C. SALZMAN et al.
    No. 15405.
    United States Court of Appeals Eighth Circuit.
    March 21, 1956.
    
      Clinton G. Richards, U.S. Atty., Sioux Falls, S.D., Perry W. Morton, Asst. Atty. Gen., and Roger P. Marquis, Chief, Appellate Section, Lands, Division, U.S. Department of Justice, Washington, D.C., for appellant.
      M. Q. Sharpe, Kennebec, S.D., for appellees.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of appellant.
    
    